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                  Exhibit 36
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                                                                  The WHITE HOUSE
                                                                       FACT SHEETS

         Fact Sheet: President Donald J. Trump Restricts Foreign Student Visas at Harvard University


                                                                    The White House

                                                                       June 4, 2025




 RESTRICTING FOREIGN STUDENT VISAS AT HARVARD: Today, President Donald
 J. Trump signed a Proclamation to safeguard national security by suspending the
 entry of foreign nationals seeking to study or participate in exchange programs at
 Harvard University.
           The Proclamation suspends the entry into the United States of any new Harvard
           student as a nonimmigrant under F, M, or J visas.

           It directs the Secretary of State to consider revoking existing F, M, or J visas for
           current Harvard students who meet the Proclamation’s criteria.

           The Proclamation does not apply to aliens attending other U.S. universities
           through the Student Exchange Visa Program (SEVP) and exempts aliens whose
           entry is deemed in the national interest.
 HARVARD HAS A DEMONSTRATED HISTORY OF CONCERNING FOREIGN TIES
 AND RADICALISM:
           The Federal Bureau of Investigation (FBI) has long warned that foreign adversaries
           take advantage of easy access to American higher education to steal information,
           exploit research and development, and spread false information.

           The University has seen a drastic rise in crime in recent years, while failing to
           discipline at least some categories of conduct violations on campus.

           Harvard has failed to provide sufficient information to the Department of
           Homeland Security (DHS) about foreign students’ known illegal or dangerous
           activities, reporting deficient data on only three students.



https://www.whitehouse.gov/fact-sheets/2025/06/fact-sheet-president-donald-j-trump-restricts-foreign-student-visas-at-harvard-university/   1/4
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           Harvard is either not fully reporting its disciplinary records for foreign students or
           is not seriously policing its foreign students.

           Harvard has also developed extensive entanglements with foreign adversaries,
           receiving more than $150 million from China alone. In exchange, Harvard has,
           among other things, hosted Chinese Communist Party paramilitary members and
           partnered with China-based individuals on research that could advance China’s
           military modernization.
                      The Chinese Communist Party has sent thousands of mid-career and senior
                      bureaucrats to study at U.S. institutions, with Harvard University considered
                      the top “party school” outside the country. Xi Jinping’s own daughter
                      attended Harvard as an undergraduate in the early 2010s.

           Harvard has failed to adequately address violent anti-Semitic incidents on campus,
           with many of these agitators found to be foreign students.

           Harvard has persisted in prioritizing diversity, equity, and inclusion (DEI) in its
           admissions, denying hardworking Americans equal opportunities by favoring
           certain groups, despite the U.S. Supreme Court’s 2023 ruling against its race-
           based practices.

           These concerns have compelled the Federal government to conclude that Harvard
           University is no longer a trustworthy steward of international student and
           exchange visitor programs.
 HOLDING HARVARD ACCOUNTABLE: President Trump wants our institutions to have
 foreign students, but believes that the foreign students should be people that can love
 our country.
           President Trump: “The students? Well, we want to have great students here. We
           just don’t want students that are causing trouble. We want to have students. I want
           to have foreign students.”

           President Trump: “We have people who want to go to Harvard and other schools,
           they can’t get in because we have foreign students there. But I want to make sure
           that the foreign students are people that can love our country.”

           President Trump: “We are still waiting for the Foreign Student Lists from Harvard
           so that we can determine, after a ridiculous expenditure of BILLIONS OF
           DOLLARS, how many radicalized lunatics, troublemakers all, should not be let back
https://www.whitehouse.gov/fact-sheets/2025/06/fact-sheet-president-donald-j-trump-restricts-foreign-student-visas-at-harvard-university/   2/4
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